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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                            Case No.: 08-21924-CIV-GOLD/McALILEY

  MERCEDES CORTES on behalf of
  herself and all others similarly situated,

           Plaintiff,

  v.

  HIS HOUSE, INC., a Florida
  Corporation, and NEW
  TESTAMENT BAPTIST CHURCH,
  INCORPORATED OF MIAMI,
  FLORIDA,

       Defendants.
  _________________________________/

                   ORDER APPROVING SETTLEMENT AGREEMENT
            AND RELEASE AND DISMISSING WITH PREJUDICE; CLOSING OUT

           THIS CAUSE having come before the Court upon the Parties request for approval

  of the Settlement Agreement and Mutual Release [DE 12], and the Court having reviewed

  the terms of the Agreement and being otherwise fully advised in the premises, the Court

  finds:

           1.      Plaintiff Cortes’ Complaint involves claims arising under the Fair Labor

                   Standards Act, 29 U.S.C. §201, et seq. ("FLSA").

           2.      Plaintiff Cortes, and Defendants His House Inc. and New Testament Baptist

                   Church, Incorporated of Miami, Florida have amicably settled all the

                   controversies involved in this case. The essential elements of the settlement

                   are described in the Settlement Agreement and Mutual Release.

           3.      Plaintiff Cortes and Defendants have stipulated, and the Court finds, that the

                   settlement is a fair and reasonable settlement of the controversies involved
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                in this case and comports with the policies underlying the FLSA.

          Accordingly, it is ORDERED AND ADJUDGED:

          1. The Motion [DE 12] is GRANTED.

          2. The Settlement Agreement is APPROVED.

          3. The case is DISMISSED with prejudice.

          4. All other pending motions are DENIED as MOOT.

          5. The Clerk of Court is instructed to CLOSE this case.

          DONE AND ORDERED in Chambers in Miami, Florida, this 8th day of September,
  2008.


                                           ___________________________
                                           ALAN S. GOLD
                                           U.S. DISTRICT JUDGE
  cc:
  Counsel of record
